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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
     Plaintiff,                     §
                                    §
vs.                                 §                Case No: 2:16-cv-1263-RWS
                                    §
LINKEDIN CORPORATION                §
                                    §
      Defendant.                    §
___________________________________ §

                         ORDER OF DISMISSAL WITH PREJUDICE
   .
          On this date, the Court considered Plaintiff Rothschild Broadcast Distribution Systems,

LLC’s motion to dismiss with prejudice Defendant LinkedIn Corporation pursuant to Fed. R. Civ.

P. 41(a).

          Therefore, IT IS ORDERED that Plaintiff’s claims against Defendant LinkedIn

Corporation are dismissed with prejudice and with each party to bear its own attorneys’ fees and

costs.

SO ORDERED.

         SIGNED this 3rd day of May, 2017.



                                                        ____________________________________
                                                        ROBERT W. SCHROEDER III
                                                        UNITED STATES DISTRICT JUDGE
